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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS
MARSHALL DIVISION

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GOOGLE INC.,

PLAINTIFF,
CIvIL ACTION No. 2: 11-cv-229-JRG-RSP
V.
JURY TRIAL REQUESTED
BENEFICIAL INNOVATIONS, INC.,

DEFENDANT.

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VERDICT FORM

In answering these questions, you are to follow all of the instructions I have given you in
the Court’s charge. As used herein, “Google” means Google Inc. As used herein, “Beneficial”
means Beneficial Innovations, Inc. As used herein, the “Accused Google Customers” refer to
Advance Publications, Inc., ALM Media Properties, LLC, American Media, Inc.,

Autotrader.com, Inc., and Demand Media, Inc. collectively.

Question No. 1:

Did Beneficial breach the Settlement Agreement between Beneficial and Google by
bringing a lawsuit against the Accused Google Customers for infringement of the °702 and °943
patents based on their use of Google’s DoubleClick product?

Answer YES or NO Ye S
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IF YOU ANSWERED “YES’ TO QUESTION NO. 1, THEN ANSWER QUESTION NO. 2.

IF YOU ANSWERED “NO” TO QUESTION NO. 1, THEN DO NOT ANSWER QUESTION

NO. 2.

Question No. 2:

Is Google entitled to recover nominal damages in the amount of one dollar?

Answer YES or NO ye 3

of —_
Signed this 2?" day of JAW 201%

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JURY FOREPERSON

